Case 18-10841-elf   Doc 33-1     Filed 09/07/18 Entered 09/07/18 10:59:58   Desc
                                EXHIBIT A
                               Exhibit A Page 1 of 7
Case 18-10841-elf   Doc 33-1     Filed 09/07/18 Entered 09/07/18 10:59:58   Desc
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Case 18-10841-elf   Doc 33-1     Filed 09/07/18 Entered 09/07/18 10:59:58   Desc
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Case 18-10841-elf   Doc 33-1     Filed 09/07/18 Entered 09/07/18 10:59:58   Desc
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  Case 18-10841-elf         Doc 33-1      Filed 09/07/18 Entered 09/07/18 10:59:58                   Desc
                                        Exhibit A Page 6 of 7
SCHEDULE 2 – BKRES AGREEMENT




September 6, 2018

Gary Seitz
Chapter 7 Trustee
Curtis Center
Philadelphia, PA 19106
E-mail: gseitz@gsbblaw.com

        Re:   Damien Aguocha & Obioma Aguocha
        Agreement to Negotiate Real Estate Sale for 648 Kenmore Rd, Philadelphia, PA 19151

Dear Trustee Seitz:
This letter confirms the Agreement to Negotiate a Real Estate Sale for the referenced property (“Property”)
and confirms the undersigned’s (“our,” “we” or “us”) agreement to negotiate a Real Estate Sale on the
following terms and conditions (collectively, the “Agreement”) with the provision that the hired
professionals, BKRES or Local Agent, shall not participate in the sale and purchase of any estate property
except as hired brokers:

        1.     Following your signature approving this Agreement, we and our affiliate, Bankruptcy
Global Holdings, LLC, D/B/A Bk Global will make commercially reasonable efforts to procure the consent
and agreement (“Consent”) of the senior mortgagee (“Secured Creditor”) to:

                a.      sell the Property under 11 U.S.C. § 363(b) to whichever third party you
        determine to have made the best qualified offer during a public sale approved by the court
        or agree to 11 U.S.C. § 363(k) and place a credit bid on the Property from the estate;

                b.       release its lien with respect to the Property; and

                c.        agree to a 11 U.S.C. § 506 surcharge to (x) pay our fee and expenses, any
        commission payable to the local real estate broker and all other fees and expenses
        associated with the sale, and (y) provide a carve-out for the benefit of allowed unsecured
        creditors of the estate.

         2.        We will select a local real estate broker to co-list the property. You will retain both BK
Global and the local real estate broker to market the Property for sale to the public under a separate listing
agreement. We will assist them by coordinating all aspects of the listing and sale process that involve
Secured Creditor’s Consent. We will also prepare and deliver any and all reports and information about
the Consent, listing and sale process that you reasonably require. However, the local listing broker will be
solely responsible for providing you with all other brokerage services associated with selling the Property,
including inspecting it to confirm condition and occupancy, preparing any comparative market analysis
and/or Broker’s Price Opinion (BPO), recommending a listing price, preparing marketing materials,
including photographs and sign-age, and displaying the same at the Property and on the Multiple Listing
Service, conducting all open houses and showings, and helping you evaluate and negotiate purchase
offers, all at their sole cost and expense.


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  Case 18-10841-elf              Doc 33-1       Filed 09/07/18 Entered 09/07/18 10:59:58            Desc
                                              Exhibit A Page 7 of 7
Gary Seitz, Trustee
Agreement to Negotiate Consented Sale
648 Kenmore Rd, Philadelphia, PA 19151
Damien Aguocha & Obioma Aguocha
         3.       The term of this Agreement will commence when you sign and return a copy of this letter
and the court approves it. This Agreement will automatically terminate upon the closing of the sale of the
Property, or it may be terminated by either party for any or no reason after 180 days from commencement.
In addition, this Agreement will be terminated if the Chapter 7 Trustee files a Report of No Distribution,
files a Notice of Abandonment of the subject property, or submits a Trustee’s Final Report to the Office of
the United States Trustee.

        4.      There will be no fees due to, or payable by, either party under this Agreement, and neither
party will be reimbursed by the other party for any cost or expense. Subject to the foregoing, you
acknowledge and agree that our fee and expenses will be paid by Secured Creditor as a 11 U.S.C. § 506
surcharge, if and to the extent that Secured Creditor agrees, and the court approves. You further
acknowledge and agree that, if the Property is sold to a third party, we may receive some or all of our fee
and expenses under a fee agreement with the local listing broker.

         5.      You will make commercially reasonable efforts to assist us in procuring Secured Creditor’s
Consent and marketing and selling the Property and hereby appoint us as your agent to act on your behalf
as trustee in connection with the same.

         6.      We acknowledge and agree that (a) you are not executing this Agreement in your
individual capacity, but solely as trustee of the estate, (b) we do not and will not have any right or claim
with respect to the estate and (c) our sole recourse for payment of our fee and expenses will be to Secured
Creditor under the Consent and the local listing broker under our fee agreement, but only if and to the extent
that the same are approved by the court.

        7.      This Agreement constitutes our complete agreement on this matter and supersedes all prior
agreements and representations concerning the same. It may not be modified or amended except in a writing
signed by both parties.

Please let us know if you have any questions regarding the foregoing or enclosed materials. Otherwise,
kindly confirm your agreement by signing and returning this letter to retain us at your earliest convenience.

We look forward to working with you.

Sincerely,
BK GLOBAL:
BK GLOBAL REAL ESTATE SERVICES, a Florida limited liability company

By:
         Patrick Butler, Broker-in-Charge
Acknowledged and agreed as of the date set forth above.

TRUSTEE:




GARY SEITZ, not individually but solely as Trustee in the referenced matter.

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